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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

B.P. a minor, by and through their parent, L.P.;
C.L. a minor, by and through their parent, K.L.;
O.D. a minor, by and through their parent;
N.D., R.J. a minor, by and through their parent,
H.J.; L.H. a minor, by and through their parent,
S.H.; O.P. a minor, by and through their parent,
S.P.; E.H. a minor, by and through their parent,
M.H.; L.S. a minor, by and through their
parent, B.P.; G.E. a minor, by and through their
parent, A.E.; M.B. a minor, by and through
their parent, R.B.; and G.A. a minor, by and
through their parent, A.A., each a minor
resident of the North Allegheny School District
attending a North Allegheny School District
School or a parent of the same,
                         Plaintiffs,                                    21-1112
                        V.
   NORTH ALLEGHENY SCHOOL
   DISTRICT, a Pennsylvania governmental
   entity, ANDREW CHOMOS, MARCIE
   CROW, ELIZABETH BLACKBURN,
   RICHARD MCCLURE, SCOTT E.
   RUSSELL, ALLYSON MINTON, KEVIN
   MAHLER, ELIZABETH WERNER,
   and SHANNON YEAKEL, all individual
   elected officials sued in their individual
   capacity and in their capacity as members of
   the NORTH ALLEGHENY SCHOLL
   DISTRICT BOARD OF DIRECTORS, a
   Pennsylvania elected legislative body,
                        Defendants.
                    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS'
                      MOTION FOR TEMPORARY RESTRAINING ORDER

      I.      Overview - The Board Policy Manual Requirements Charge the Superintendent
              with oversight and control of health guidelines and universal precautions to be
              implemented for the School District. On August 13, 2021, after consulting with
              medical professionals the Superintendent implemented a universal masking
              policy for the School District. The School Board, without providing the required

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